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RICKIE wHiTTINGToN,
Plaintiff,
vs. No. 05-2090-D/P

HUD-HOUSING AUTHORITY,

Defendant.

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ORDER OF DISMISSAL

 

On February 3, 2005, plaintiff Rickie Whittington filed
a pro se complaint on the form used for commencing actions pursuant

to Title VII of the Civil Rights Act of 1964, 42 U.S.C. § 2000e §§

seg., along with a motion seeking leave to proceed, i forma

 

pauperis. Because the plaintiff’s motion for leave to proceed ip
fp;ma pauperis contained insufficient information to permit the
Court to conclude that the plaintiff is unable to pay the civil
filing fee or to give security therefor, the Court issued an order
on April l2, 2005 directing the plaintiff, within thirty (30) days,
to file a properly completed ip fp;ma pauperis affidavit or pay the
civil filing fee. The time set in the Court's order has expired,
and plaintiff has not paid the filing fee or otherwise responded to
the order.

The April 12, 2005 order stated that “[f]ailure timely to

comply with this order will result in dismissal of this action,

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with Ru!e 58 and/or 79(5) FRGP on .

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pursuant to Fed. R. Civ. P. dl(b), for failure to prosecute.”
04/12/05 Order at 3. Accordingly, the Court DISMISSES the complaint
without prejudice, pursuant to Fed. R. Civ. P. 4l(b), for failure

to prosecute.

:T rs so oRDERED this 3d day Of May, 2005.

    

B RNICE . NALD
NITED STATES DISTRICT JUDGE

 

TRICT C URT - WESTNER D"ISRICT oF TNNESSEE

Notice of Distribution

This notice confirms a copy cf the document docketed as number 4 in
case 2:05-CV-02090 Was distributed by faX, mail, or direct printing on
June 2, 2005 to the parties listed.

 

Rickie Whittington
P.O. BOX 30972
l\/lemphis7 TN 38130

Honorable Bernice Donald
US DISTRICT COURT

